                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
             Plaintiff,                       )
                                              )        Case No. 18-00293-CR-DGK
                                              )
        v.                                    )
                                              )
LEEANNA M. SCHROEDER, et al.,                 )
                                              )
             Defendants.                      )

                                           ORDER

         The Court has received Defendant Leeanna Michelle Schroeder’s objections to co-
defendant Parton’s motion to continue this case until the November 1, 2021, Joint Criminal
Jury Trial Docket.    (Doc. No. 409)    Upon review, the Court notes Defendant Schroeder
makes an alternative request for severance. In order to fully consider this request prior to
ruling the motion to continue and in advance of the current pretrial conference setting,
expedited briefing is required.   Accordingly, it is
         ORDERED that Defendant Schroeder, and any defendant who wishes to join in the
request for a severance, file briefing in support of this request no later than January 21,
2021.    The Government shall respond no later than January 28, 2021.     Any replies shall
be filed no later than February 2, 2021.




                                                   /s/ Jill A. Morris
                                                 JILL A. MORRIS
                                       UNITED STATES MAGISTRATE JUDGE




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